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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



THE CITY OF CHICAGO,

                                Plaintiff,

                     v.
                                                       Civil Action No. 1:18-cv-6859
MONTY WILKINSON, Acting Attorney
General of the United States                           Hon. Harry D. Leinenweber

                                Defendant.




               JOINT STATEMENT CONCERNING AGREED FINAL ORDER

          As directed by the Court (see Dkt. 126), the parties have met and conferred regarding an

appropriate final judgment in this case and have agreed to entry of the attached proposed final

order.1




1
 Defendant reserves his right to appeal this proposed amended final judgment and order, as well
as the January 13, 2021 order at Dkt. 126.
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February 2, 2021.                            Respectfully Submitted,

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ARI HOLTZBLATT (pro hac vice)                By /s/ Andrew W. Worseck
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